Exhibit K
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Date: Monday, August 3, 2020 at 6:34 PM
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Subject: Zepeda Rivas - COVID testing update

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Counsel,

The names and information of the detainees in this message are designated CONFIDENTIAL pursuant
to the protective orders.

Mr. Yao Saeturn,                was seen in medical on July 31, 2020, for complaints of cough, chest
pain, and sore throat. He was sent to the emergency room for COVID-19 testing, which came back
positive. He was admitted to the hospital. On August 2, 2020, Mr. Saeturn was released on an order of
supervision from ICE custody.

Because Mr. Saeturn had been housed in Dormitory C at Mesa Verde, that dorm was placed on cohort
for 14-day monitoring. Arrangements to test those housed in C Dorm are in progress. The 31 detainees
on cohort are listed below. We will provide further updates regarding contact tracing as available.

(1)    Gabriel Yucute-Camey,
(2)    Juan Lopez-Garcia,
(3)    Isidro Benavides Caballo,                  ;
(4)    Edwin Alas Alfaro,
(5)    Antonio Gonzalez-Agaton,
(6)    Julio Palma Aguilar,
(7)    Benjamin Hernandez Garcia,
(8)    Jose Camarena Navarrete,
(9)    Kevin Arias Romero,                ;
(10)   Pedro Nunez,              ;
(11)   Jose Alfaro Henriquez,
(12)   Samuel Rios-Alvarado,                  ;
(13)   Jose Argueta-Rivera,               ;
(14)   Roberto Ramirez-Pineda,                    ;
(15)   Angel Ordaz Camacho,
(16)   Oscar Vigil,            ;
(17)   Alejandro Flores-Banuelos,               ;
(18)   Luis Aguilar Carrion,            ;
(19)   Deepak Sahota,             ;
(20)   Walter Cruz-Zavala,             ;
(21)   Raleigh Figueras,
(22)   Ivan Hernandez Pelayo,               ;
(23)   Reynaldo Dungo,              ;
(24)   Walter Carillo Torres,             ;
(25)   Jose Villanueva,
(26)   Asif Qazi,             ;
(27)   Jose Robles Flores,
(28)   Pedro Narvaez,
(29)   Dilbagh Singh,
(30)   Levi Cruz Menjivar,            ; and
(31)   Francisco Mendoza-Canales,                   .

As previously reported, all 33 detainees in Dorm B were offered testing, of which 32 consented and 1
refused. All lab results have returned. 27 detainees in B Dorm tested negative for COVID-19. The
following detainees from Dorm B tested positive and have been informed of the their results: Israel
Marin-Parra,                ; German Najera-Grajeda,                ; Marcos Najera-Sandoval,
    ; Jose Ruiz,              ; and Benito Villalobos-Sura,              . These five individuals have
been removed from Dorm B; two have been placed in the RHUs and three are in intake holding cells
with cots.
Mr. Oscar Bonilla Solano,                , who was taken off of medical isolation last week, has been
transferred from Mesa Verde for removal.

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